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      ""-AO 245B (CASD) (Rev. 1112)   Judgment in a Criminal Case
                 Sheet t



                                                UNITED STATES DISTRlCT                                     Cotllf AUG -8 AM 8: 36
                                                                                                               '~"'"      .... :   .~.,                 ".,
                                                    SOUTHERN DISTRICT OF CALlFORNt~:-\'      ~:: .
                                                                                   3\J\Jf Tn ,,,'
                                                                                                                                   ~ : '"   '," ,
                      UNITED STATES OF AMERICA                                                             JUDGMENT IN A CRIMINAL CASE
                                          v.                                        (For Offenses Commit~i!f OR gr After November I,PI!9tl/7r)v

                                 Abdalla Abdalla -I                                 Case Number: 12-cr-OI253-JAH-l

                                                                                     Keith Howard Rutman
                                                                                    Defendant's Attorney
     REGISTRA TlO]\ NO. 29524298
     181 Correction of Sentence for Clerical Mistake (Fed. R. Crim. P.36)(remaining counts)
     THE DEFENDANT:
     181 pleaded guilty to count(s) One and two of the Indictment.

     o     was found guilty on count(s)I_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not guilty.
           Accordingly. the defendant is adjudged guilty of such count(s). which involve the following offense(s):
                                                                                                                                                        Count
     Title & Section                           Nature of Offense                                                                                    Number(s)
21 :841 (a)(a); 21 :853(a)(2),          Possession of Marijuana with Intent to Distribute
18:924(d)(1),28:246\(c)
18:924(c)(\); 21:853(a)(2),             Carrying of a Firearm During the Commission of a Drug Trafficking Crime                                     2
18:924(d)(l),28:2461(c)




         The defendant is sentenced as provided in pages 2 through     4    of this judgment. The sentence is imposed pursuant
  to the Sentencing Reform Act of 1984,
  o    The defendant has been found not guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

  181 Count(S)_re_m_a...;.in_i-'ng:::..­ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is 181                are   0 dismissed on the motion ofthe United States,
  181 Assessment: $100.00 as to each count - waived.

  181 No fine                                         o Forfeiture pursuant to order filed _ _ _ _ _ _ _ _ _ , included herein.
       IT IS ORDERED that the defendant shan notify the United States Attorney for this district within 30 days of any change of name, residence.
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.




                                                                                 ON. JOHN A. HOUSTON
                                                                               UNITED STATES DISTRICT JUDGE



                                                                                                                                                    12-cr-0l2S3-JAH-l
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AO 245B (CASD) (Rev. 1112) Judgment in a Criminal Case
           Sheet 2   Imprisonment

                                                                                            Judgment -   Page _ _2__ of       4
 DEFENDANT: Abdalla Abdalla -1
 CASE NUMBER: 12-cr-012S3-JAH-l
                                                          IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
         Ctl: Time served.
         Ct2: Sixty months, consecutive to count one.


    o Sentence imposed pursuant to Title 8 USC Section 1326(b).
    181 The court makes the following recommendations to the Bureau of Prisons:
         The Court recommends the residential drug abuse program and that custody be served in the Western Region.




    o The defendant is remanded to the custody ofthe United States Marshal.
     o The defendant shall surrender to the United States Marshal for this district:
           Oat                                    Oa.m.    Op.m.    on
               as notified by the United States Marshal.

    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o before -----------------------------------------------------------------------
          o as notified by the United States Marshal.
          o as notified by the Probation or Pretrial Services Office.
                                                             RETURN

 I have executed this judgment as follows:

         Defendant delivered on                                                 to

 at __________________ , with a certified copy ofthis judgment.


                                                                                          UNITED STATES MARSHAL


                                                                   By ________~~~~~~~~~~---------
                                                                                       DEPUTY UNITED STATES MARSHAL




                                                                                                                 12-cr-O12S3-JAH-l
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AO 245B (CASD) (Rev. 1/12) Judgment in a Criminal Case
           Sheet 3 - Supervised Release
                                                                                                                Judgment-Page    - L - of _ _..:.4_ __
DEFENDANT: Abdalla Abdalla -1
CASE NUMBER: 12-cr-01253-JAH-l
                                                            SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
Three years concurrent as to counts one and two.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offonses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use ofa ~on.trolled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two penodlc drug ~ests
thereafter as determined by the court. Testing requirements will not exceed submission of more than _4_ drug tests per month dunng
the term of supervision, unless otherwise ordered by court.

o        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, ifapplicable.)
         The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
         The defendant shall cooperate in the collection of a DNA sample from the defendant. pursuant to section 3 of the DNA Analysis
         Backlog Elimination Act of 2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).                                                         .
         The defendant shall comply with tlie requirements of the Sex Offender Registration and Notification Act (42 U.S.c. § 1690 I, et seq.) as dIrected
         by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
         was convieted of a qualifying offense. (Cheek if applieable.)
o        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fme
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                          STANDARD CONDITIONS OF SUPERVISION

   I)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)      the defendant shall report to the probation officer in a manner and frequency direeted by the court or probation officer:
   3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)      the defendant shall support his or her dependents and meet other family responsibilities;
   5)      the defendant shall work regularly at a lawful occupation, unless exeused by the probation officer for schooling, training, or other
           acceptable reasons;
   6)      the defendant shall notify the probation officer at least ten days prior to any ehange in residence or employment;
   7)      the defendant shall refrain from excessive use of alcohol and shall not purehase, possess, use, distribute, or administer any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
    8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
           a felony, unless granted permission to do so by the probation officer;
  10)      the defendant shaII permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed in plain view of the probation officer;
  11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)      the d~fe.ndant shall not enter into any agreement to act as an infurmer or a special agent of a law enforcement agency without the
           permIssIOn of the court; and
  13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
           record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
           defendant's compliance with such notifieation requirement.

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       AO 245B (CASD) (Rev If12) Judgment in a Cnminal Case
                  Sheet 4  Special Conditions
                                                                                                         Judgment--·Page _ _4_ of _~4_ __
       DEFENDANT: Abdalla Abdalla -1                                                               II
       CASE NUMBER: 12-cr-01253-JAH-l




                                           SPECIAL CONDITIONS OF SUPERVISION
[8] Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a .
    reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
    scarch may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.

D If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States iIIcgally and report to the probation
    officer within 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.
D Not transport, harbor, or assist undocumented aliens.
D Not assoeiate with undoeumented aliens or alien smugglers.
D Not reenter the United States illegally.
[8] Not enter or reside in the Republic of Mexico without written permission of the Court or probation officer.
181 Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
D Not possess any nareotic dru~ or controlled substance without a lawful medical prescription.
D Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
[8] Shall not possess, wear, use or display or have in his pos possession any item associated with gang dress or any item prohibited by the
    probation officer, including but not limited to any insignia, emblem, badge, cap, hat, scarf, bandanna, or any article of clothing, hand sign or
    paraphernalia associated with membership or affiliation in any gang.



D Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
    officer, if directed.
D Provide complete disclosure of personal and business financial records to the probation officer as requested.
D probation
  Bc prohibited from opening ehecking accounts or incurring new credit charges or opening additional lines of credit without approval of the
            officer.

D Seek and maintain full time employment and/or schooling or a combination of both.
D Resolve all outstanding warrants within               days.
D Complete              hours of community service in a program approved by the probation officer within
o   Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of
181 Shall not associate with any known probationer, parolee, or gang member, including but not limited to any "African Mafia Crips" affiliate or
    gang member, or anyone specifically disapproved by the probation offieer.




                                                                                                                                12-cr-01253-JAH-l
